                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                                 Western Division


NUSTAR FARMS, LLC                             )
     et al                                    )
                                              )
       Plaintiffs,                            )
                                              )
v.                                            )          Case No. C20-4003-CJW-MAR
                                              )
                                              )          REQUEST FOR EXPEDITED
RYAN LIZZA                                    )          RELIEF PURSUANT TO
     et al                                    )          LR 7(i)
                                              )
       Defendants.                            )
                                              )


            PLAINTIFFS’ BRIEF IN SUPPORT
     OF RESISTED MOTION TO COMPEL DISCOVERY
       Plaintiffs, NuStar Farms, LLC, Anthony Nunes, Jr. and Anthony Nunes, III

(“Plaintiffs”), by counsel, pursuant to Local Civil Rule (“LR”) 7, respectfully submit this

Brief in Support of their motion to compel discovery from Defendants, Ryan Lizza and

Hearst Magazine Media, Inc. (“Defendants”) and to award Plaintiffs their reasonable

expenses incurred in making the motion, including attorney’s fees.

       1.      On August 10, 2021, the parties appeared for the deposition of third-party

witness, Devin G. Nunes (the “Witness”).

       2.      Counsel for the Defendants examined the witness at length, including

asking direct questions about the article, about the sources identified in the article, about

the audiotapes of Lizza’s interviews with those sources produced by Lizza in discovery

(which Defendant’s marked Counsel’s Eyes Only pursuant to the Protective Order), and

about Plaintiffs’ damages.


                               1
Case 5:20-cv-04003-CJW-MAR Document 138-2 Filed 08/13/21 Page 1 of 5
       3.      At the conclusion of Defendants’ examination, Counsel for Plaintiffs

began his examination of the Witness only to be unceremoniously interrupted, threatened

and stopped by counsel for Hearst and Lizza. See Transcript attached.

       4.      The litigation process is – or should be – a search for the truth. Littlewood

v. Federal Realty Inv. Trust, 2014 WL 6713468, at * 2 (Sup. Mass. 2014); id. Bartsch v.

Lage, 2019 WL 166206, at * 6 (N.J. Super. 2019) (“The discovery rules are to be

construed liberally and broadly to facilitate the search for the truth during litigation”);

Riley v. Goodman, 315 F.2d 232, 234 (3rd Cir. 1963) (“We have long abandoned the

adversary system of litigation which regards opposing lawyers as players and the judge as

a mere umpire whose only duty is to determine whether infractions of the rules of the

game have been committed. A trial is not a contest but a search for the truth so that

justice may properly be administered.”).

       5.      Hearst and Lizza have known the truth all long: that the statements in the

article about Plaintiffs are not only false – they were fabricated by Lizza and Hearst.

       6.      Counsel for the Plaintiffs intended to examine the Witness based upon

statements made by Lizza and made to Lizza on the audiotapes.

       7.      Although Counsel for Hearst readily allowed other witnesses to hear what

was on the audiotapes, Counsel for Hearst blocked the examination and refused to permit

the Witness to hear the truth. Counsel claimed that the examination “exceeded the

scope” of his direct examination.

       8.      This is not a lawful basis for interrupting a deposition and obstructing a

party’s examination.

       9.      Indeed, it is unethical.




                               2
Case 5:20-cv-04003-CJW-MAR Document 138-2 Filed 08/13/21 Page 2 of 5
       10.     It violates every tenet of the Federal Rules of Civil Procedure and the First

Amendment.

       11.     Hearst and Lizza know what is on those audiotapes. They know the truth.

This was an intentional effort to obstruct discovery and to conceal material facts from a

witness.



                   CONCLUSION AND REQUEST FOR RELIEF

       For the reasons stated above, Plaintiffs respectfully request the Court to grant

their Motion to Compel Discovery and permit the Plaintiffs’ examination of the Witness.

Plaintiffs also request an award their attorney’s fees incurred in making this motion.



DATED:         August 13, 2021



                            Signature of Counsel on Next Page




                               3
Case 5:20-cv-04003-CJW-MAR Document 138-2 Filed 08/13/21 Page 3 of 5
                      NUSTAR FARMS, LLC
                      ANTHONY NUNES, JR.
                      ANTHONY NUNES, III


                      By:   /s/ Steven S. Biss
                            Steven S. Biss (VSB # 32972)
                            300 West Main Street, Suite 102
                            Charlottesville, Virginia 22903
                            Telephone:     (804) 501-8272
                            Facsimile:     (202) 318-4098
                            Email:         stevenbiss@earthlink.net
                            (Admitted Pro Hac Vice)

                            William F. McGinn #24477
                            McGINN LAW FIRM
                            20 North 16th Street
                            Council Bluffs, Iowa 51501
                            Telephone: (712) 328-1566
                            Facsimile: (712) 328-3707
                            Email: bmcginn@themcginnlawfirm.com

                            Counsel for the Plaintiffs




                               4
Case 5:20-cv-04003-CJW-MAR Document 138-2 Filed 08/13/21 Page 4 of 5
                          CERTIFICATE OF SERVICE

       I hereby certify that on August 13, 2021 a copy of the foregoing was filed

electronically using the Court’s CM/ECF system, which will send notice of electronic

filing to counsel for the Defendants and all interested parties receiving notices via

CM/ECF.



                            By:    /s/ Steven S. Biss
                                   Steven S. Biss (VSB # 32972)
                                   300 West Main Street, Suite 102
                                   Charlottesville, Virginia 22903
                                   Telephone:     (804) 501-8272
                                   Facsimile:     (202) 318-4098
                                   Email:         stevenbiss@earthlink.net
                                   (Admitted Pro Hac Vice)

                                   William F. McGinn #24477
                                   McGINN LAW FIRM
                                   20 North 16th Street
                                   Council Bluffs, Iowa 51501
                                   Telephone: (712) 328-1566
                                   Facsimile: (712) 328-3707
                                   Email: bmcginn@themcginnlawfirm.com

                                   Counsel for the Plaintiffs




                               5
Case 5:20-cv-04003-CJW-MAR Document 138-2 Filed 08/13/21 Page 5 of 5
